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                          MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEE
                           FOR PERSONAL INJURY AND DEATH CLAIMS
                                 In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)
                  Ronald L. Motley (1944-2013)
                                                                         Robert T. Haefele, Co-Liaison Counsel
      Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs
                                                                                 MOTLEY RICE LLC
                       MOTLEY RICE LLC
                                                               VIA ECF
June 14, 2023

The Honorable George B. Daniels
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007
           Re:       In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)
Dear Judge Daniels:
        We are in receipt of James Bernard‘s letter dated May 31, 2023 (ECF No. 9114), wherein he
purports to provide supplemental authority with respect to the Havlish plaintiff attorneys’ common benefit
fee request. To the contrary, Bernard cites no new legal authority, but instead makes a veiled attempt to
put the attorney fee request of a few ahead of the more substantive and timely legal issues that affect all
9/11 plaintiffs, including those represented by the Havlish attorneys. The PEC is in the midst of substantial
briefing on expert and dispositive legal issues. The Committee’s ongoing work on behalf of all claimants is
relevant to the court’s consideration of the Havlish petition; so as already thoroughly briefed, the Havlish
petition remains premature.
         We submit that Bernard’s letter is inappropriate. The Southern District is not required to consider
arguments made in unauthorized briefs. See Emanuel v. Gap, Inc., 19-CV-03617 (PMH), at *7 (S.D.N.Y.
Aug. 3, 2022) (“The Court is, of course, entitled to disregard any arguments made in extraneous briefing”)
citing Clark v. City of New York, No. 09-CV-02533, 2015 WL 5719612, at *1 (E.D.N.Y. Sept. 29, 2015)
(disregarding the pages of a party's brief that exceeded the page limit under Court rules without the Court's
prior approval). The PEC asks the court to simply disregard Bernard’s letter. If, however, the court has
any questions or requires a formal response to the letter, the PEC will of course be happy to respond.
Respectfully submitted,
MOTLEY RICE LLC
 By: /s/ Jodi Westbrook Flowers
     JODI WESTBROOK FLOWERS
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For the Plaintiffs’ Exec. Committee for Personal Injury and Death Claims

cc:        The Honorable Sarah Netburn, U.S.M.J., via ECF
           All Counsel of Record via ECF
